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U.S. Department of Justice

Matthew M. Graves
United States Attorney

 

District of Columbia

 

Judiciary Center
555 Fourth St, NW.
Washington, D.C. 20530

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No.: 22-cr-16-CJN
v. 40 U.S.C. § 5104(e)(2)(G)
BRYAN BUSTOS,
Defendant.

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, BRYAN BUSTOS,
with the concurrence of his attorney, agree and stipulate to the below factual basis for the
defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the
United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1, The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

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2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks as required by USCP officers or other authorized security
officials.

6. At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

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attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of
more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

BRYAN BUSTOS’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, BRYAN BUSTOS, travelled from Long Beach, California, to
Washington, D.C., on January 3, 2021, with his brother and co-defendant, Alexis Bustos. The
purpose of the defendant’s trip was to travel to Washington, D.C., to protest Congress’
certification of the Electoral College.

9. At or around 2:04pm, defendant BRYAN BUSTOS and Alexis Bustos entered the

grounds of the U.S. Capitol, near the north barricade access. At approximately 2:40pm, the

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defendant entered the Capitol through the Columbus Door on the eastern side of the building.
From the Columbus Door, the defendant proceeded to the Capitol Rotunda. The defendant

remained inside the Capitol until he exited through the Rotunda doors at approximately 2:51pm.

Elements of the Offense
10. BRYAN BUSTOS knowingly and voluntarily admits to all the elements of
Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States
Code, Section 5104(e)(2)(G). Specifically, defendant admits that he willfully and knowingly
entered the U.S. Capitol Building knowing that that he did not have permission to do so.
Defendant further admits that while inside the Capitol, he willfully and knowingly paraded,

demonstrated, or picketed.

Respectfully submitted,

Matthew M. Graves
United States Attorney

Lee

ThomafD. Campbell

Trial Attorney

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DEFENDANT'S ACKNOWLEDGMENT

I, Bryan Bustos, have read this Stitement of the Offense and have discussed it with my
attomey, Allen Orenberg, 1 fully understand this Statement of the Offense. — | agree and
acknowledge by my signature that this Statement of the Offense is true and accurate, | do this
voluntarily and of my own free will. No threats have been made to me noran funder the influence
of anything that could inpede my ability lo understand this Statement of the Offense fully.

 

Date: _ | ol ofie “ “% ee Pe 3h ~
‘Bryati Bustos
Defendant

ATTORNEY'S ACKNOWLEDGMENT

1, Allen Orenberg. have read this Statement of the Offense and have reviewed it with my
client, Bryan Bustos, fully. | concur in my client's desire to adopt this Statement of the Offense
as true and accurate,

Date: Le bef Llp? Mw Kt

Allen Orenberg
Attorney for Defendant

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